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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
STATE OF NEW YORK,                                                     :
                                                                       :
                                     Plaintiff,                        :      20-CV-1127 (JMF)
                                                                       :
                  -v-                                                  :
                                                                       :
CHAD F. WOLF, in his official capacity as Acting                       :
Secretary of Homeland Security, et al.,                                :
                                                                       :
                                      Defendants.                      :
                                                                       :
---------------------------------------------------------------------- X
                                                                       :
R. L’HEUREUX LEWIS-MCCOY et al., on behalf of                          :
themselves and all similarly situated individuals,                     :
                                                                       :      20-CV-1142 (JMF)
                                     Plaintiffs,                       :
                                                                       :
                  -v-                                                  :     NOTICE OF INITIAL
                                                                       :   PRETRIAL CONFERENCE
CHAD WOLF, in his official capacity as Acting                          :
Secretary of Homeland Security, et al.,                                :
                                                                       :
                                      Defendants.                      :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        It is hereby ORDERED that counsel for all parties appear for an initial pretrial conference
with the Court on March 26, 2020, at 4:00 p.m. in Courtroom 1105 of the Thurgood Marshall
Courthouse, 40 Centre Street, New York, New York. All counsel are required to register
promptly as filing users on ECF and to familiarize themselves with the SDNY ECF Rules &
Instructions, which are available at https://www.nysd.uscourts.gov/electronic-case-filing. All
counsel must also familiarize themselves with the Court’s Individual Rules, which are
available at https://www.nysd.uscourts.gov/hon-jesse-m-furman. Absent leave of Court
obtained by letter-motion filed before the conference, all pretrial conferences must be attended
by the attorney for each party who will serve as principal trial counsel.

       As of this order, no motion for consolidation has been filed, but case number 20-CV-
1142 has been accepted by the Court as related to case number 20-CV-1127, and the cases
appear to involve common questions of law and fact. Thus, the Court is inclined to consolidate
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the cases pursuant to Rule 42 of the Federal Rules of Civil Procedure for all purposes. Counsel
in both cases shall promptly confer and be prepared to discuss at the initial conference whether
and to what extent the two cases should be consolidated or otherwise coordinated.

        In addition, counsel in both cases are directed to confer with each other prior to the
conference regarding settlement and each of the other subjects to be considered at a Federal Rule
of Civil Procedure 16 conference. Furthermore, in accordance with Paragraph 2.B of the Court’s
Individual Rules and Practices, the parties in both cases are hereby ORDERED to file on ECF a
single joint letter addressing both cases, described below, and, if appropriate, a proposed Civil
Case Management Plan and Scheduling Order addressing both cases and attached as an exhibit to
the joint letter, no later than Thursday of the week prior to the initial pretrial conference.
The parties shall use this Court’s form Proposed Civil Case Management Plan and Scheduling
Order, which is also available at https://www.nysd.uscourts.gov/hon-jesse-m-furman. Any open
legal issues can be addressed at the conference.

       The joint letter shall not exceed five (5) pages, and shall provide the following
information in separate paragraphs:

       (1)     A brief statement of the nature of the actions and the principal defenses thereto;

       (2)     A brief explanation of why jurisdiction and venue lie in this Court;

       (3)     A brief statement of the parties’ views on whether and to what extent the two
               cases should be consolidated (pursuant to Rule 42 of the Federal Rules of Civil
               Procedure) or otherwise coordinated;

       (4)     A statement of all existing deadlines, due dates, and/or cut-off dates;

       (5)     A brief description of any outstanding motions;

       (6)     A brief description of whether discovery is necessary or appropriate, whether any
               discovery that has already taken place, and of any discovery that is necessary for
               the parties to engage in meaningful settlement negotiations;

       (7)     A list of all prior settlement discussions, including the date, the parties involved,
               and the approximate duration of such discussions, if any;

       (8)     A statement confirming that the parties have discussed the use of alternate dispute
               resolution mechanisms and indicating whether the parties believe that (a) a
               settlement conference before a Magistrate Judge; (b) participation in the District’s
               Mediation Program; and/or (c) retention of a privately retained mediator would be
               appropriate and, if so, when in the case (e.g., within the next sixty days; after the
               depositions of Plaintiffs are completed; after the close of fact discovery; etc.) the
               use of such a mechanism would be appropriate; and

       (9)     Any other information that the parties believe may assist the Court in advancing
               the cases to settlement or trial, including, but not limited to, a description of any

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               dispositive issue or novel issue raised by the cases.

        If the cases have been settled or otherwise terminated, counsel are not required to submit
such letter or to appear, provided that a stipulation of discontinuance, voluntary dismissal, or
other proof of termination is filed on ECF prior to the date of the conference, using the
appropriate ECF Filing Event. See SDNY ECF Rules & Instructions §§ 13.17-13.19 & App’x A,
available at https://www.nysd.uscourts.gov/electronic-case-filing.

        In accordance with the Court’s Individual Rules and Practices, requests for an extension
or adjournment may be made only by letter-motion filed on ECF and must be received at least 48
hours before the deadline or conference. The written submission must state (1) the original
date(s); (2) the number of previous requests for adjournment or extension; (3) whether these
previous requests were granted or denied; (4) whether the adversary consents and, if not, the
reasons given by the adversary for refusing to consent; and (5) the date of the parties’ next
scheduled appearance before the Court. Unless counsel are notified that the conference has been
adjourned, it will be held as scheduled.

        Counsel who have entered a notice of appearance as of the issuance of this order are
directed (1) to notify counsel for all other parties in this action who have not yet appeared
by serving upon each of them a copy of this order and the Court’s Individual Rules and
Practices forthwith, and (2) to file proof of such notice with the Court. If unaware of the
identity of counsel for any of the parties, counsel receiving this order must forthwith send a copy
of this order and the Court’s Individual Rules and Practices to that party personally.

       SO ORDERED.

Dated: February 24, 2020                           __________________________________
       New York, New York                                   JESSE M. FURMAN
                                                          United States District Judge




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